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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK

 ARISTIDES ALFREDO VILLATORO

                                             Plaintiff,   PARTIAL SATISFACTION OF
                                                          JUDGMENT
                      - against -
                                                          16-cv-00254
 RIDGE RESTAURANT, INC. d/b/a ALFREDO’S
 PIZZERIA, and DENNIS D’ONOFRIO,

                                          Defendants.



       WHEREAS, an Amended Judgment was entered by the Clerk of the Court in the

above entitled action on December 20, 2022 in favor of the Moser Law Firm, P.C. and

against Defendants Ridge Restaurant, Inc. and Dennis D’Onofrio in the sum of

$29,331.02, which judgment states that if any amounts remain unpaid upon the expiration of

ninety days following issuance of the Amended Judgment, the total amount thereof shall

automatically increase by 15%; and

       WHEREAS, said judgment automatically increased by 15% on March 20, 2023 in

the amount of $4,399.65 to $33,730.67; and

       WHEREAS the Defendants paid the sum of the sum of $29,331.02 on March 29,

2023; and

       WHEREAS per-diem interest accrued on a daily basis in the amount of $3.73 on

the original amount of the judgment ($29,331.02), for every day on which the judgment

was not satisfied for the period from December 20, 2023 until March 29, 2023; and
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       WHEREAS per-diem interest continues to accrue on a daily basis in the amount

of $0.56 for every day after March 20, 2023 on the amount of the increase in the

judgment ($4,399.65); and

       WHEREAS it is certified that there are no outstanding executions with any

Sheriff or Marshal within the State of New York;

       THEREFORE, partial satisfaction of said judgment is hereby acknowledged, and

the Clerk is hereby authorized and directed to make an entry of a partial satisfaction on

the docket of said judgment in the amount of $29,331.02.

Dated: Huntington, New York
       October 23, 2023

                                   MOSER LAW FIRM, P.C.

                                   Steven John Moser

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